                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA                         2/22/2019
                                   LYNCHBURG DIVISION



  NATALIE R. BENNETT,                                 6:18-CV-00076

                     Plaintiff,

                         v.                           MEMORANDUM OPINION

  LIBERTY UNIVERSITY ,

                    Defendant.                        JUDGE NORMAN K. MOON
                                                      SENIOR UNITED STATES DISTRICT JUDGE


       On August 20, 2018, pro se Plaintiff Natalie R. Bennett filed an action against the

Defendant. (Dkt. 2). The Court granted plaintiff leave to proceed in forma pauperis and directed

the Marshal to serve the Defendant. (Dkt. 3). A 70-Day Notice Letter and a 90-Day Notice Letter

were forwarded to Plaintiff noting that service on Defendant was required by November 20, 2018.

(Dkt. 4 & 5). According to the Clerk of the Court’s office, Plaintiff did not supply the Marshal

with a completed summons containing the required information needed to serve the Defendant.

(See Dkt. 6).

       On December 11, 2018, the Court directed the Clerk to send a copy of the appropriate

summons form to Plaintiff and ordered Plaintiff to return the completed summons form to the

Clerk on or before January 14, 2019, to permit the Marshal to complete service. (Dkt. 6). Plaintiff,

however, failed to return a completed summons form to the Clerk by the deadline imposed in the

December 11, 2018 Order.

       The Plaintiff’s failure to provide the information on a completed summons as directed by

the Order has prevented service on the Defendant within the 90-day period set forth in Rule 4(m)




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of the Federal Rules of Civil Procedure. On January 31, 2019, the Court provided notice to

Plaintiff that it will on its own motion dismiss the action without prejudice in this case unless

Plaintiff showed good cause for the failure noted above or provided some reason for the Court to

order service be made within a new specified time. The Court gave the Plaintiff fourteen (14) days

to show cause why the Court should not dismiss her Complaint. (Dkt. 7).

       The Court did not receive a show cause response from Plaintiff on or before the deadline.

The Court will, therefore, dismiss the Complaint without prejudice for failure to comply with the

Court’s orders and pursuant to Rule 4(m) of the Federal Rules of Civil Procedure.

       A separate order dismissing this action without prejudice will be entered. The Clerk of the

Court is hereby directed to send a copy of this Memorandum Opinion to Plaintiff and to the legal

department at Liberty University.

                    22nd day of February, 2019.
       Entered this _____




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